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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


DRAGON INTELLECTUAL PROPERTY,
LLC,
            Plaintiff,
                                            Civil Action No. 13-2061-RGA
     v.
AT&T SERVICES, INC.,

            Defendant.
DRAGON INTELLECTUAL PROPERTY,
LLC,
            Plaintiff,
                                            Civil Action No. 13-2062-RGA
     v.
CHARTER COMMUNICATIONS, INC.,

            Defendant.
DRAGON INTELLECTUAL PROPERTY,
LLC,
            Plaintiff,
     v.                                     Civil Action No. 13-2063-RGA
COMCAST CABLE COMMUNICATIONS,
LLC,

            Defendant.
DRAGON INTELLECTUAL PROPERTY,
LLC:,
            Plaintiff,
                                            Civil Action No. 13-2064-RGA
     v.
COX COMMUNICATIONS, INC.,

            Defendant.




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 DRAGON INTELLECTUAL PROPERTY,
 LLC,
                Plaintiff,
                                                       Civil Action No. 13-2065-RGA
       v.
 DIRECTV, LLC,

                Defendant.
 DRAGON INTELLECTUAL PROPERTY,
 LLC,
                Plaintiff,
                                                       Civil Action No. 13-2068-RGA
        v.
 TIME WARNER CABLE INC.,

                Defendant.
 DRAGON INTELLECTUAL PROPERTY,
 LLC,
                Plaintiff,
                                                       Civil Action No. 13-2069-RGA
        Y.

 VERIZON COMMUNICATIONS INC.,

                Defendant.

                                           ORDER

       For the reasons discussed in the accompanying Memorandum, IT IS HEREBY

ORDERED:

       Defendants' motions for Rule 11 sanctions (C.A. No. 13-2061, D.I. 123; C.A. No. 13-

2062, D.I. 133; C.A. No. 13-2063, D.I. 132; C.A. No. 13-2064, D.I. 125; C.A. No. 13-2065, D.I.

139; C.A. No. 13-2068, D.I. 135; C.A. No. 13-2069, D.I. 125) are DENIED.

                                                   Entered this \Nay of July, 2016.




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